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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.
                                                     No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                      Defendants.


            DEFENDANTS’ JOINT NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully submit this Notice of Supplemental Authority to inform the Court

of a recent opinion in Coinbase v. SEC, No. 23-3202 (3d Cir., Jan. 13, 2025), which is attached as

Exhibit A.

 Dated: January 15, 2025                            Respectfully submitted,

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